                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                                 }
                                                  }
GARY COOPER                                       }   CASE NO. 18-82436-CRJ-13
                                                  }
                                                  }   CHAPTER 13
                       Debtor(s).                 }

GARY COOPER                                       }   AP NO. 19-80071-CRJ-13
                                                  }
                                                  }
                       Plaintiff(s),              }
       v.                                         }
                                                  }
AVADIAN CREDIT UNION and                          }
BSI FINANCIAL SERVICES                            }
                                                  }
                                                  }
                       Defendant(s).              }


             ORDER VACATING TRIAL AND RELATED DEADLINES

       On February 25, 2020, counsel for the Plaintiff filed a Notice of Settlement,
reporting that the parties have resolved all claims and requesting that the Court vacate all
hearings in this Adversary Proceeding to allow the parties time to file the necessary
settlement and dismissal documents.

       IT IS THEREFORE ORDERED, ADJUDGED and DECREED that the Pretrial
Conference scheduled on April 20, 2020, the Trial scheduled on April 27, 2020, and all
other related deadlines in the above-styled Adversary Proceeding are hereby VACATED.
The parties are hereby directed to file the necessary settlement documents within sixty days
from the date of this Order.


Dated this the 26th day of February, 2020.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




Case 19-80071-CRJ        Doc 60        Filed 02/26/20 Entered 02/26/20 08:34:08        Desc Main
                                       Document     Page 1 of 1
